Case 1:05-cv-01192-.]DT-STA Document 5 Filed 09/01/05 Page 1 of 3 Page|D 1

\£o
“ G_i/ g
IN THE UNITED sTATEs DISTRICT COURT 0535°`/ `\

 

SOCIAL sECURITY,

FOR THE WESTERN DISTRICT OF TENNESSEE[n w ,%/
EASTERN DIVISION ~<53/<'"_ ' »?.-36_
sHiRLEY M. BROWN, ) '
)
Plaintif`f`, )
)
vs. ) No. 05-1192_'r
)
COMMISSIONER oF )
)
)
)

Defendant.

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of` a decision of the Commissioner of` Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff`s brief in support of this appeal must be filed Within 30 days of the
date of this order.

Def`endant's brief in opposition to this appeal must be filed Within 30 days after
service of` Plaintif`f‘s brief.

If Plaintiff wishes to file a reply brief, such brief must be filed within 10 days after
service of` Defendant's brief.

Failure of either party to comply With this order Will result in appropriate sanctions,
Which may include consideration of the case Without regard to that party's brief, or dismissal

of` the action.

This document entered on the dockets set ln com llance
with Fiule 58 and,'or_?$ (a) FRCP on

Case 1:05-cv-01192-.]DT-STA Document 5 Filed 09/01/05 Page 2 of 3 Page|D 2

Oral argument Will be heard in this matter only if requested by the parties and deemed

necessary by the court.

lT IS SO ORDERED.

b.QM/ld~

JA S D 'TODD
ED sTATEs DISTRICT JUDGE

:TLdr¢/W@;Ws

 

 

UNITSTED`ATES DISTRICT C URT WESTRNE D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 5 in
case l:05-CV-01192 Was distributed by f`aX, mail, or direct printing on
September l, 2005 to the parties listed.

 

 

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

LoWe Finney

Hardee & l\/lartin

213 East Lafayette Street
.lacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

